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 5                              UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
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     CLEANGO GREENGO INC.,
 8                                                           Case No.: 2:20-cv-01334-JCM-NJK
            Plaintiff(s),
 9                                                                         ORDER
     v.
10
     UNITED STATES PATENT AND
11   TRADEMARK OFFICE,
12          Defendant(s).
13         On July 28, 2020, Plaintiff was ordered to file a certificate of interested parties by July 31,
14 2020. Docket No. 4. To date, Plaintiff has not done so. Plaintiff is hereby ORDERED to file a
15 certificate of interested parties by November 9, 2020. Failure to comply with this order may
16 result in the imposition of sanctions.
17         IT IS SO ORDERED.
18         Dated: November 2, 2020
19                                                                ______________________________
                                                                  Nancy J. Koppe
20                                                                United States Magistrate Judge
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